Case 8:21-cv-00555-SDM-CPT Document 154 Filed 06/23/22 Page 1 of 5 PageID 11829




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 DALANEA TAYLOR; TAMMY
 HEILMAN; DARLENE DEEGAN;
 and ROBERT A. JONES III,

              Plaintiffs,
 v.                                          CASE NO.: 8:21-cv-00555-SDM-CPT
 CHRIS NOCCO, in his official
 capacity as Pasco County Sheriff,

              Defendant.
                                             /

      NOTICE OF NON-ELECTRONIC FILING AND FILING UNDER SEAL
                PURSUANT TO COURT ORDER (DKT. 114)

        Defendant CHRIS NOCCO, in his official capacity as Pasco County Sheriff, by

 and through undersigned counsel, and pursuant to this Court’s Order dated June 6,

 2022 (Dkt. 114) granting the Parties’ Joint Motion to Make Non-Electronic Filing

 and File Under Seal (Dkt. 111), and the Unopposed Motion to Supplement the Joint

 Motion to Make Non-Electronic Filing and to File Under Seal (Dkt. 112), hereby

 gives notice that two (2) flash drives containing videos and confidential records

 referenced in the Motion for Summary Judgment by Defendant Sheriff (Dkt. 115),

 have been sent by overnight mail to the Clerk of the Court.

                            NON-ELECTRONIC FILING

        1.    Body-worn Camera Videos:

               #1 through #121
Case 8:21-cv-00555-SDM-CPT Document 154 Filed 06/23/22 Page 2 of 5 PageID 11830




       2.    Deposition Video Exhibits:

              Video exhibits to the Deposition of Mark Celeste taken on January
               4, 2022 (Dkt. 121):

                – Exhibit “K” – Video 3-28-16 Code Violation-2

                – Exhibit “M” – Video Sheriff’s Office Investigation.mp4

                – Exhibit “S” – Video 3-14-18

              Video exhibits to the Deposition of Tammy Heilman taken on
               March 23, 2022 (Dkt. 124):

                – Exhibit “28” – Body Cam Footage Extraction 1.1 County
                  Ordinance Chickens

                – Exhibit “29” – Body Cam Footage 11-7-17 X83015724

                – Exhibit “30” – Body Cam Footage 7-26-18 X83015725

                – Exhibit “31” – Body Cam Footage 5-23-18 X83046953

              Video exhibits to the Deposition of Andrew Denbo taken on
               January 4, 2022 (Dkt. 126):

                – Exhibit “11” – Video 12-26-15 Contribute to Delinquency-2

                – Exhibit “12” – Video 12-26-15 Contribute to Delinquency

                – Exhibit “23” – Video Battery on LEO-17

              Video exhibits to the Deposition of Robert Jones III taken on
               January 27, 2022 (Dkt. 131):

                – Exhibit “28” – Jones 9-22-15 Search by Consent Video

                – Exhibit “29” – Jones 9-22-15 Encouraging to Avoid Crime Video

                – Exhibit “73” - Body Cam Extraction 1.116012033 Video



                                          2
Case 8:21-cv-00555-SDM-CPT Document 154 Filed 06/23/22 Page 3 of 5 PageID 11831




              Video exhibits to the Deposition of David Kennedy taken on March
               21, 2022 (Dkt. 132):

                – Exhibit “1” – Taylor Video 2-25-18
                – Exhibit “2” – Taylor Video 3-31-18

                – Exhibit “3” – Heilman Video 3-3-2016

                – Exhibit “4” – Heilman Video 9-18-18

                – Exhibit “5” – Heilman Video 8-9-20

              Video exhibits to the Deposition of Pedro Ojeda taken on January
               12, 2022 (Dkt. 136):

                – Exhibit “H” – Body-worn Camera Video

                – Exhibit “I” – Extraction 1.1 Code Invest-2 mp4

              Video exhibits to the Deposition of Dalanea Taylor taken on May
               18, 2022 (Dkt. 137):

                – Exhibit “2” – 1-1-2018 Body Cam Video

                – Exhibit “3” – 3-3-2018 Body Cam Video

                – Exhibit “4” – 2-25-2018 Body Cam Video

              Video exhibits to the Deposition of Paul Reagan taken on January
               11, 2022 (Dkt. 138):

                – Exhibit “9” – Video Axonflex 2x8 12-29-2017

                – Exhibit “11” – Video Extraction _1.1 Battery_on_LEO_4

                             FILING UNDER SEAL

       1.    Agency Documents:

              ILP Directive Final (July 12, 2021)


                                         3
Case 8:21-cv-00555-SDM-CPT Document 154 Filed 06/23/22 Page 4 of 5 PageID 11832




              STAR Team Manual (2021)

       2.    CAD Reports, Incident Reports with Corresponding BWC:

              Deegan – CAD and Incident Reports with corresponding BWC

              Heilman – CAD and Incident Reports with corresponding BWC

              Jones – CAD and Incident Reports with corresponding BWC

              Taylor – CAD and Incident Reports with corresponding BWC

       3.    Confidential Juvenile Records:

              Robert Jones IV

              Donnie McDougall




                                         4
Case 8:21-cv-00555-SDM-CPT Document 154 Filed 06/23/22 Page 5 of 5 PageID 11833




                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this           23rd day of June, 2022, I electronically
 filed the foregoing with the Clerk of the Court by using the CM/ECF system which
 will send a notice of electronic filing to the following:    Ari S. Bargil, Esquire
 (abargil@ij.org), Institute For Justice, 2 S. Biscayne Boulevard, Suite 3180, Miami,
 Florida 33131; Joshua A. House, Esquire (jhouse@ij.org) and Caroline Grace
 Brothers, Esquire (cgbrothers@ij.org), Institute For Justice, 901 N. Glebe Road, Suite
 900, Arlington, Virginia 22203; and Robert E. Johnson, Esquire (rjohnson@ij.org),
 Institute For Justice, 16781 Chagrin Boulevard, Suite 256, Shaker Heights, Ohio
 44120.
       I further certify that a copy of the foregoing Notice and exact copies of the
 flash drives have been sent by overnight mail to: Caroline Grace Brothers, Esquire,
 Institute For Justice, 901 N. Glebe Road, Suite 900, Arlington, Virginia 22203.


                                         s/ Robert D. Holborn II
                                        THOMAS W. POULTON, ESQ.
                                        Florida Bar No.: 0083798
                                        Email: poulton@debevoisepoulton.com
                                        JEFFREY K. GRANT, ESQ.
                                        Florida Bar No.: 0091197
                                        Email: grant@debevoisepoulton.com
                                        ERIN M. TUECHE, ESQ.
                                        Florida Bar No.: 0045104
                                        Email: tueche@debevoisepoulton.com
                                        ROBERT D. HOLBORN, II, ESQ.
                                        Florida Bar No.: 0044186
                                        Email: holborn@debevoisepoulton.com
                                        DeBEVOISE & POULTON, P.A.
                                        Lakeview Office Park, Suite 1010
                                        1035 S. Semoran Boulevard
                                        Winter Park, Florida 32792
                                        Telephone: 407-673-5000
                                        Facsimile: 321-203-4304
                                        Attorneys for Defendant Sheriff Nocco


                                           5
